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                           UNITED STATES DISTRICT COURT              FILED IN OPEN COURT
                            MIDDLE DISTRICT OF FLORIDA                  JACKSONVILLE, FLORIDA
                               JACKSONVILLE DIVISION                        MAR 0 2 2006
                                                                        U S DISTRICT COURT
                                                                     MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA

v.                                                      Case No. 3:05-cr-53-J-20MCR

JOHN CHARLES MERRETT


                         PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, in the lndictment in the above-captioned case, the United States of

America sought forfeiture, pursuant to 21 U.S.C. 853, of property constituting and

derived from any proceeds Defendant John Charles Merrett received, directly or

indirectly as a result of his narcotics violations, or property which the Defendant used to

facilitate his narcotics violations; and

       WHEREAS, on March 10, 2005, the United States filed its Bill of Particulars (Dkt.

129) alleging that the real property located at 2059 Farley Burnsed Road, St. George,

Georgia (hereinafter "real property"), was subject to forfeiture based on the allegations

in Count One through Count Eight of the Indictment; and

       WHEREAS, the Defendant has pled guilty to Count One of the lndictment

charging him with conspiracy to distribute methamphetamine, the amount of the

methamphetamine being 50 grams or more, and marihuana, the amount of the

marihuana being 100 kilograms or more, in violation of 21 U.S.C. §§ 846, 841(b)(l)(A)

and 841(b)(l )(B); and

       WHEREAS, the Plea Agreement provides the requisite nexus for forfeiture of the

real property that the Defendant agreed to forfeit, pursuant to 21 U.S.C. § 853. The
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United States, on February 17, 2006, filed its motion and brief for the issuance of a

Preliminary Order of Forfeiture (Dkt. 41 1). Accordingly, it is hereby

       ORDERED and ADJUDGED that the motion (Dkt. 41 I ) , is hereby GRANTED,

and that all right, title and interest of the Defendant in the real property is hereby

forfeited to the United States of America.

       That upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture, pursuant to the provisions of 21 U.S.C. $j 853(a)(1), in which the

interest of all parties will be addressed.

       DONE and ORDERED in Jacksonville, Florida, this&day             of




cc:    Counsel of Record
